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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


   In the Matter of the Federal Bureau of Prisons’
   Execution Protocol Cases,

   LEAD CASE: Roane et al. v. Barr

   THIS DOCUMENT RELATES TO:                                       Case No. 19-mc-0145 (TSC)

   Lee v. Barr, No. 19-cv-2559


              PLAINTIFF DANIEL LEWIS LEE’S EMERGENCY MOTION
                 FOR RULING ON PENDING CLAIM AND MOTION

       Plaintiff Daniel Lewis Lee (“Lee”) respectfully brings this emergency motion for an

immediate ruling by the Court on (1) Lee’s supplemental claim in connection with Plaintiffs’

motion for a preliminary injunction filed on June 19, 2020 (see Dkt. #103); and (2) Lee’s motion

for a preliminary injunction in Lee v. Barr et al., 19-cv-03611.

       Immediate relief is urgently needed because the U.S. Supreme Court has vacated the

Court’s order of yesterday (Dkt. #136) enjoining Defendants from proceeding with the

executions of four prisoners under the 2019 Protocol, including Lee. Defendants have indicated

that they are prepared to move forward with Lee’s execution today at 4:00am. In light of the

imminent and irreparable harm that he faces, Lee respectfully requests that the Court

immediately issue a ruling on his pending supplemental claim and motion for preliminary

injunction.


DATED:        July 14, 2020                          /s/ Pieter Van Tol
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 14, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all counsel of record. The names marked with an asterisk (*)

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